4:11-cr-03032-RGK-CRZ               Doc # 89   Filed: 11/15/11     Page 1 of 3 - Page ID # 277




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )       4:11CR3032
       vs.                                           )
                                                     )       PRELIMINARY ORDER
IVAN BRIAN BROOKS,                                   )       OF FORFEITURE
a/k/a Ivan Bryan Brooks, and                         )
ADELFO JUNIOR SOTO,                                  )
                                                     )
                       Defendants.                   )



       NOW ON THIS 15th day of November, 2011, this matter comes on before the Court upon

the United States’ Motion for Issuance of Preliminary Order of Forfeiture (Filing No. 88). The

Court reviews the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have agreed to enter pleas of guilty to Count I and the Forfeiture

Allegation of said Indictment. Count I charged the Defendants with conspiracy to distribute

methamphetamine and marijuana, in violation of 21 U.S.C. § 846. The Forfeiture Allegation

charged the Defendants with using $1,596.00 in United States Currency to facilitate the commission

of the conspiracy and charges said currency is derived from proceeds obtained directly or indirectly

as a result of the commission of the conspiracy.

       2. By virtue of said guilty pleas, the Defendants forfeit their interest in the $1,596.00 in

United States Currency, and the United States should be entitled to possession of said currency,

pursuant to 21 U.S.C., § 853.

       3. The United States’ Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.
4:11-cr-03032-RGK-CRZ            Doc # 89       Filed: 11/15/11      Page 2 of 3 - Page ID # 278




       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States’ Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon the Forfeiture Allegation of the Indictment and the Defendants’ pleas of

guilty, the United States is hereby authorized to seize the $1,596.00 in United States Currency.

       C. The Defendants’ interests in the $1,596.00 in United States Currency are hereby forfeited

to the United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

       D. The aforementioned property is to be held by the United States in its secure custody and

control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site, www.forfeiture.gov, notice

of this Order, Notice of Publication evidencing the United States’ intent to dispose of the property

in such manner as the Attorney General may direct, and notice that any person, other than the

Defendants, having or claiming a legal interest in any of the subject property must file a Petition

with the court within thirty days of the final publication of notice or of receipt of actual notice,

whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner’s alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner’s right, title or interest in the subject property and any additional facts supporting the

Petitioner’s claim and the relief sought.



                                                  2
4:11-cr-03032-RGK-CRZ            Doc # 89      Filed: 11/15/11      Page 3 of 3 - Page ID # 279




       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the $1,596.00 in United States Currency subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       Dated November 15, 2011.

                                              BY THE COURT:

                                              Richard G. Kopf
                                              United States District Judge




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